   Case: 1:21-cv-05014 Document #: 18 Filed: 11/08/22 Page 1 of 35 PageID #:165

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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
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                                                                                                                THOMAS G. BRUTu,­
                                                                                                          CLERK, U.S. DISTRICT COURl

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                                                                         Ma3� Iv1c½e, M. Do.viol We.,s:CV10£i
(Enter above the full name
of the plaintiff or plaintiffs in
this action)

                           vs.                             Case No: 2, / -             CV-
                                                                                  Ot;()/L/
                                                           (To be supplied by the Clerk of this Court)




(Enter above the full name of ALL
defendants in this action. Do not
use "et al.")

CHECK ONE ONLY:

   X              COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983
                  U.S. Code (state, county, or municipal defendants)

                  COMPLAINT UNDER THE CONSTITUTION ("BIVENS" ACTION), TITLE
                  28 SECTION 1331 U.S. Code (federal defendants)

                  OTHER (cite statute, if known)

BEFORE FILLING OUT THIS COM.PLAINT, PLEASE REFER TO. "INSTRUCTIONS FOR
FILING." FOLLOW THESE INSTRUCTIONS CAREFULLY.




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Case: 1:21-cv-05014 Document #: 18 Filed: 11/08/22 Page 2 of 35 PageID #:166



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     PLrhffi(s):

     A.         Narne:

     B.         List all aliases:                                                                                                        I



     c.         Prisoner identifioation nr::nber: e-O                 I Y L t L7b L7
     D,         Place ofpresent confin66661'

     E.         Address:                                                                                                         6o6og
     (Ifthere is more than oae plaintiff, theo. each plaintiffmust [st his or h6r u'ne, aliases, LD.
     number, place of confneme,:rt and crrrEnt address accor,f ing to thc above fomoat on a
     sepaate sheet of paper.)

U.   Defendant(s):
     (In A below, place fte full name of the first defendant in the fint blaoh his or her official
     posilion iu tle second blank, and his or her place of employment in fte third blank. Space
     for two additional defendans is provided in B and C,)

     A.          Defendaat         To'                  h^
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                 Place of Employment:

     B.          Defendant:

                 Title:

                 Place of Emplo5nncnt:

     C.          Defendant:

                 Title:

                 Place of Employment:

     (If you have more thm three defendants, then all additional defendants must be listed
     according to the above format on a separate sheet of pErer.)




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ru.   List ALL lawsuih you (and your co-plaintiffs, if any) have filed in any state or federal
      court in the United States:

      A, Name of              case and docket number: 'i,                 'fu,91 ( .            I g V to, , 3
                  Crart;rt         l: zt- L\/- ouAq'1
      B.         Approximate date of filing lawsuit fq I t                             ZO ? I
      C.         List all plaintiffs (if youhad co-plaintiffs), including any aliases:




      D.




      E.         Court iq which the lawsuit was filed (if federal court, name the district; if state court,
                 name the county):          F<Jq, I c ^ u.t , Nor#c^ , QoK                                                        -
      F.         Nameofjudgetowhomcasewasassigned:                              H"n. J, n|e { l+"5"
                 -T'hr.r/, iTr -
      G.          Basic claim




      H.          Disposition of this case (for example: Was the case dismissed? Was it appealed?
                  Is it stitl pending?): Pe n al i q.)




                  Approximate date of disposition:


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rv.     Statement of Claim:

        State here as briefly as possible the facts ofyour case. Describe how each defendant is
        involved, including names, dates, and places. Do not give any legal arguments or cite any
        cases or statutes. If you intend to allege a number of related claims, number and set forth
        each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
        if necessary.)




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v.   Relief:

     State briefly exactly what you want frc court to do for you. Make no iegal arguments. Cite
     no cases or statutes.




VI. ThepLaintiffdemandsthatthe case be hiedbyajury, 7(                                                tr     NO
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                                                                     CERTIFICATION

                                   By signing fris Conplaint, I certif that the facts stated in this
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                          COOKCOUNW SHERIFF,S OFFICE
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                                 COOK COUNTY SH ERIFF,S OFFICE
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                           COOK COUNTY SHERIFFS
                            (Oficino del Alguocil del Condodo de cal<)

                           INMATEGRIEVANCEFORM /2.{}\
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                                              de una quela sometida en los tftimos 15 dlas calendarios.
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EI asunto de b qu$ no puede ser um repetici6n de una quera prevlameme reciba y la clal ya ha reclbo um respu€cta y uned reclblda no romet€t una apehd6n sobre b decisi6n dada en
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                           COOK COUNTY SH ERIFF'S OFFICE
                            (Oficino del Alguocil del Condodo de Cok)

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Fnc/cRwl.
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El asunto de b quga no puede ser una repetici6n de una queja previamente reciba y la cual ya ha reclbo una respu€sta y usted recibida no someter una epelaci6n sobre h decisi6n dada en
los 15 dras calendario6.
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                                       COOK COUNTY SHERIFFS OFFICE
                                       (Oficino del Alguocil del Condodo de Cak)

                                         INMATE GRIEVANCE FORM
                                       (Formulorio de Quejo del Preso)



    E Grievance
    EI Non{ompliantGrievance

    PRNT - I{MATE Sf I{AME (Aoelltdo del Preso):                                   PRF{T - FRST NAME (Primer Nombre):                                 I{MATE Bq)K NG NIMBER (t d e id e m ifi a ci 6 n de I Pre so )
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                 (Div'si6n): /'!__


                                                                                                  3t                                                  ft
                                  Y.aur grieved hrue must meet al criter's llsted below in order to be,assfned a control               t to be appcaled an{or to exhaust rernedies.
    disdpllnary hearin gs o,f fl cer.



    Thegrhvedissue must notbea repeatsubmissior ofagrietrance collestedwithinthe last 15calendardays,
    Thefhledissuemustnotb€a repeatsubmission ofa grievancethat previouslyreceiteda responseand wasappealed.
    Thegriered issue must notbe e repeat submisslon ofa gden ncethatpreviouslyreceiwd a responeeand you chosenotto appealthe response vlthin 15 calendar days
    Thegdeved issuemunnotoortaln offensiveorhilressinglanguage.
    Thegrbvanceform must notcontaln morethan ollclssue



     El asunto de la queja thne que satisfacer toda el crierir li*ado m5s abaF pan obGner un nfmero de control, pan ser apebdo y/o agotar odos los renredbs posbles.


    seguridad o custodh de protecci6n para ios presc, o tlecisiones d€l oficial de audiencias disciplimrias para los presos



    Fnc/(nwl.
    El asunto de h queia no puedeser           una repetlci6n de una 4ueia sometida en los 0himos 15 diaselendarios.
    El asunto de h queia no puede ser um repetici6n           de una quilra previamente recibida y la qlal ya ha recibido una respuesta y fue   apelada.                'i
    los 15 dfas calmdarios.
    El asunto de b queia no puede cont€ner lenguaie ofr*rsivo o amenazante
    ta solttcd de h queja no puede contener mds de un asunto.




    REQUIRED -                              REQUIRED.                         REQUIRED.                                                   REQUTRED-
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                                                                                                                                                       a(f..^                  ta r-i
                                                                                                                                                                     $
    DATE OF INCD€NT                         TIME OF INODENT                SPECIHC IOCATIOI{ OF I'{ODENT                                  NAME and/or lDEf{TlFlE(s) dF AcCt sED
    (Fedo &l lrcklente)                     (Horod del lncidente)             (Lugor Espcifrco del lncileme)                             (Nontue y/o l&rxiflmi6n del kwado)                                 \
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(FCN-73XNOV 17)                                 (WHITE COPY - I NMATE SERVICES) (YELIO\,1, @PY - CRW/PLATOON COUNSELOR)                                                             (PINK @PY - INMATE)
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                  COOK COUNTY S.HERIFF'S OFFICE
                  pFiina Det Alguo.cil-del Condodo de Cook)
                  INMATEGHEVANCE RESPONSVAPPEAL FORM
                  (Formulaiio de Quejo del Preso/ Apelaci6n)




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                                                                                                                          DATE RESPONSE WAS RECEnfiD: {Fed, o eftque ls respuesto lue rccibtdo)




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            To exhaust administrative remedies, grievance appeals must be made witfin 15 calendaidays                      oiii.ii.ti'ifrd inh"i;fi;aria tfaltiffse.'hn-
            appeal must be filed in alt circumstances in order to exhaust administrative remedies.
            (Con et fin de ogotor los recursos odministrotivos, los opelaciones de los quejos se deben reolizor en el plozo de 75 dios despuds de que el recluso
            hoyo recilldo   la          Lo apelacidn se debe envior en todos los cosrls o fin de ogotor los recuras odmlnisffativos.)




                                                                                                                                                          .-,'
         DATE OF INMATE'S REqUEST FOR AN A?PEAL: (i:echo de lo solicitud de la apeloci6n del                                             preso:)
                                                                                                                                                           -,---j.*/-:-




    :.'ADM|NlsTRAToR/DEslGNEE,sAccEPTANcEoF|NMATE,sAPPEA[?'Yes(SlltrNi}]Er.)
_            (Apelocihn del preso oceptodo por el_odministrador o/su            designado(o)?)                                            t      ,.,/ ":,'

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                                                                             SIGNATURE (F,rmo del Administrodor o/su Designado(o)):                                OAfE(Fechol: I
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    II{MATE SreNATURE                                                                                                   DAIEAPPEALRESPONSE WAS RECEIVED: lFedta en que lo respuesto fue
                                                                                                                        recibido)
                                                                  Delv Via COVIDI9
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(FCN-72) (NOV 17)                           (wHrrE coPY - TNMATE SERVTCES                                       (YETLOW COPY-C.R.W.)                                    (P|NK COPY- TNMATE)
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